     Case: 1:21-cv-06079 Document #: 14 Filed: 12/10/21 Page 1 of 1 PageID #:67

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Devon Curtis
                           Plaintiff,
v.                                                 Case No.: 1:21−cv−06079
                                                   Honorable Steven C. Seeger
7−Eleven, Inc.
                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 10, 2021:


        MINUTE entry before the Honorable Steven C. Seeger: The Court sets the
following briefing schedule on defendant's motion to dismiss (Dckt. No. [12]). Plaintiff's
response is due by January 7, 2022. Defendant's reply is due by January 21, 2022. Mailed
notice. (jjr, )




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